Case 5:21-cr-00009-LGW-BWC Document 637-4, Filed 07/13/23 Page 1 of 3

EXHIBIT 4
Case 5:21-cr-00009-LGW-BWC Document 637-4 Filed 07/13/23 Page 2 of 3

ite

Grower Name:

Address:

Phone #:

11/14/2018
To Whom It May Concern:

This is a fully executed work contract agreement between the grower and the

FLC-_ ____ to work on my farm. My farm is located at:
he. Ie.
| braaey 15761
| plan to hire 250 workers from FLC — _, Starting 15, 2019 through

Osteber 15, 2019.
é6) N S vember
The workers will be doing the following job description:

Sorting, grading, picking, packing, weeding, loading, unloading, planting, pruning blueberries.

Installing and/or repairing irrigation lines, laying mulch in blueberry fields.

All tools will be provided at no costs to the workers.

The fixed worksite field locations are at the following location (s):

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- Grower FLC -

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